Case 1:98-cr-00258-JKB Document 437 Filed 12/28/20 Page 1 of 11

UNITED STATES DISTRICT COURT
DISTRICT OF MARYLAND “x= ~~

ar 029
SSS.
UNITED STATES OF AMERICA, | —
V. Docket No. 1:98-cr-00258-JKB
AHMAD S.LINTON,
Defendant.

PRO-SE MOTION TO REDUCE SENTENCE PURSUANT
TO 18 U.S.C. § 3582(c)(1)(A) FOR IMMEDIATE
RELEASE, AND EMERGENCY MOTION

INTRODUCTION

COMES NOW, the Defendant Ahmad S. Linton, pro se, (hereinafter, “Linton” or
“Defendant”) and respectfully moves this Honorable Court pursuant to the newly
amended 18 U.S.C. §3582(c)(1)(A)(i) for an order reducing his sentence to time
served based on his age (45), COVID-19, and his post-conviction rehabilitation.
Linton’s circumstances satisfy the "extraordinary and compelling reasons" under
§3582, as elaborated by the Sentencing Commission in U.S.S.G. §1B1.13. After
considering the applicable factors set forth in 18 U.S.C. §3553(a), Linton
respectfully request that the Court grant his request for compassionate release and
reduce his sentence to time served.

In support thereof Linton puts forth the following:
Case 1:98-cr-00258-JKB Document 437 Filed 12/28/20 Page 2 of 11

JURISDICTION

This Court has jurisdiction pursuant to the First Step Act of 2018 which amended
18 U.S.C. Section 3582(c)(1)(A) allowing the Court to grant compassionate release
to defendants who may exhibit “extraordinary and compelling” circumstances after
applying the factors set forth under 18 U.S.C. Section 3553(a).

LINTON IS DESRVING IS OF A SENTENCE
REDUCTION

With the passage of the First Step Act, Congress emphasized the imperative of
reducing unnecessary incarcerations and avoiding unduly punitive sentences that
do not serve the ends of justice. United States v. Simons, No. 07-cr-00874,2019
WL, at'*8 (E.D.N.Y. Apr.22, 2019).

If Linton was convicted today of the same crime, he would be a sentenced to less
than 20 years under Alleyne. That is, under the correct statutory and constitutional
interpretation Linton has served more time than the law allows.

Furthermore, Linton is a model of rehabilitation. He has spent his time in prison
improving himself, helping those around him, and working toward justice for
himself and others. He has demonstrated an unwavering commitment to becoming
a productive member of society and a responsible man. He has learned invaluable
skills, all of which he plans to put to use when working with at-risk youths and
community organizations. Simply put, Linton's life prospects are very bright for a
man who has spent the past 20 years incarcerated, and he has a network of
supporters willing and able to assist him in his transition back into the community.

PROCEDURAL HISTORY

Linton was convicted in this court of conspiracy to distribute cocaine and
conspiracy to commit murder in aid of racketeering and sentenced to life
imprisonment. The judgment was affirmed on direct appeal. See United States v.
Linton, 62 Fed. Appx. 352 (4th Cir. 2003). His petition for certiorari to the United
States Supreme Court was denied. See Ahmad v. United States, 540 U.S. 930
(2003). On June 29, 2005, this court denied Linton’s motion to vacate his sentence
pursuant to 28 U.S.C. § 2255. The United States Court of Appeals for the Fourth
Circuit dismissed his appeal on June 24, 2009. See United States v. Linton, No. 09-
6389 (4th Cir. 2009). On January 30, 2013, Linton filed a section 2255 motion.

All post-conviction motions were denied.

2
Case 1:98-cr-00258-JKB Document 437 Filed 12/28/20 Page 3 of 11

EXHAUSTION OF REMEDIES

Linton concedes that he has not completely exhausted his Administrative remedies
as required under Section 3582(c)(1)(A) (Linton’s request was denied by the
Warden on April 5, 2020, but was not appeal, see attachments). However, due to
the emergency nature of this filing time may not permit full exhaustion before
fatalities ensue. As such, Linton relies on relevant case law which allows for the
waiver of exhaustion. Specifically, recently, Courts have recognized that
exhaustion “is not absolute.” See, Washington v. Barr, 925 F.3d 109, 118 (2d Cir.
2019) (citing McCarthy v. Madigan, 503 US 140, 146-147 (1992).

Even when faced with statutory exhaustion requirements, however, the Supreme
Court has allowed claims to proceed notwithstanding a party’s failure to complete
the administrative exhaustion process “where a claimant’s interest in having a
particular issue resolved is so great that deference to the agency’s judgment is
inappropriate.” Mathews v. Eldridge, 424 US 319, 330 (1976). This is the
reasoning that prompted the Second Circuit’s decision in Washington, 925 F.3d at
118 to waive exhaustion. See also, Jones v. Bock, 549 US 199 *2007) (exhaustion
of remedies is an affirmative defense and is not jurisdictional).

It is well settled that exhaustion may be waived under three (3) conditions: (1)
where it would be “futile”; (2) where the administrative process would “incapable
of adequate relief’; and (3) where pursuing agency review would “subject
[movant] to undue prejudice.”

Here, these exceptions exist and allow this Court to use its discretionary powers
and waive the exhaustion requirement. First, futility, (i.e. “undue delay”) here has
the grave potential for a pure catastrophe resulting in death, multiple deaths and/or
multiple infections. Second, the relief the agency might provide could, because of
undue delay, ultimately become “inadequate.” Lastly, Linton could be prejudiced
which, in this case, could result in death if he is unable to practice “social
distancing” which the scientific experts are demanding as a fist line of defense.
See, Bowen v. City of New York, 476 US 467, 483 (1986) (holding that
irreparable injury justifying the waiver of exhaustion requirements where “the
ordeal of having to go through the administrative process may trigger a severe
medical setback.”); Abbey v. Sullivan, 978 F.2d 37, 46 (2d Cir. 1992) (“[I]f delay
attending exhaustion would subject claimants to deteriorating health, ...then waiver
may be appropriate”); New York v. Sullivan, 906 F.2d 910, 918 (2d Cir. 1990)
(same).
Case 1:98-cr-00258-JKB Document 437 Filed 12/28/20 Page 4 of 11

With More Than 300,000 Prisoners Locked Down. Prisoners struggle to get their
medical records and the necessary document for exhaustion of remedies. Inmates
are locked in their cells 23 hours, relying on in- person, confidential meetings with
staff (i.e., counselors, case manager, unit officers, or lawyers) is extremely
difficult, although not impossible. The law library is closed, no copy machines are
available to make duplicate copies, commissary is often closed, thus making stamp
purchase impossible, and untimely mailing services, all of these circumstances
making the exhaustion of Administrative Remedies nearly impossible. See,
Carmona v. U.S. Bur. of Prisons, 243 F.3d 629, 634 (2d Cir. 2001) (while prior to
filing a habeas corpus petition under § 2241 “federal prisoners must exhaust their
administrative remedies [w]hen, however, legitimate circumstances beyond the
prisoner’s control preclude him from fully pursuing his administrative remedies,
the standard we adopt excuses this failure to exhaust”).

The Federal Bureau of Prisons (BOP) is now on rigid national lockdown due to
nationwide rioting in addition to its previously stringent lockdown and quarantine
constraints amid the rapidly escalating public health crisis COVID- 19. Therefore,
the defendants do not have the opportunity to follow all the rules, procedures, or
the ability to exhaust all administrative remedies and make all deadlines.

Accordingly, Linton respectfully requests this Court apply the doctrine of waive
and move to the merits of his request.

DISCUSSION

A. THIS COURT HAS AUTHORITY TO RESENTENCE
THE DEFENDANT UNDER 18 U.S.C. § 3582(c)(1)(A)(i)
FOR THE “EXTRAORDINARY AND COMPELLING
REASONS” CREATED BY THE COVID-19 PANDEMIC
AND THE PRISON CONDITIONS WHICH PREVENT
SELF-CARE FOR A HIGH- RISK PATIENT

With the changes made to the compassionate release statute by the First Step Act,
courts need not await a motion from the Director of BOP to resentence prisoners
under 18 U.S.C. § 3582(c)(1)(A)(i) for “extraordinary and compelling reasons.”
Case 1:98-cr-00258-JKB Document 437 Filed 12/28/20 Page 5 of 11

Importantly, the reasons that can justify resentencing need not involve only
terminal illness or urgent dependent care for minor children.

Congress first enacted the modern form of the compassionate release statute,
codified at 18 U.S.C. § 3582, as part of the Comprehensive Crime Control Act of
1984. Section 3582(c) states that a sentencing court can reduce a sentence
whenever “extraordinary and compelling reasons warrant such a reduction.” 18
U.S.C. § 3582(c)(1)(A)(i). In 1984, Congress conditioned the reduction of
sentences on the BOP Director’s filing of an initial motion to the sentencing court.
Absent such a motion, sentencing courts had no authority to modify a prisoner’s
sentence for compassionate release. Id.

Congress never defined what constitutes an “extraordinary and compelling reason”
for resentencing under Section 3582(c). But the legislative history to the statute
gives an indication of how Congress thought the statute should be employed by the
federal courts. The Senate Committee stressed how some individual cases, even
after the abolishment of federal parole, still may warrant a second look at
resentencing:

The Committee believes that there may be unusual cases in which an eventual
reduction in the length of a term of imprisonment is justified by changed
circumstances. These would include cases of severe illness, cases in which other
extraordinary and compelling circumstances justify a reduction of an unusually
long sentence, and some cases in which the sentencing guidelines for the offense of
which the defendant was convicted have been later amended to provide a shorter
term of imprisonment.

S. Rep. No. 98-225, at 55-56 (1983) (emphasis added). Congress intended that the
circumstances listed in § 3582(c) would act as “safety valves for modification of
sentences,” id. at 121, enabling judges to provide second looks for possible
sentence reductions when justified by various factors that previously could have
been addressed through the abolished parole system. This safety valve statute
would “assure the availability of specific review and reduction of a term of
imprisonment for ‘extraordinary and compelling reasons’ and [would allow courts]
to respond to changes in the guidelines.” Id. Noting that this approach would keep
“the sentencing power in the judiciary where it belongs,” rather than with a federal
parole board, the statute permitted “later review of sentences in particularly
compelling situations.” Id. (emphasis added).
Case 1:98-cr-00258-JKB Document 437 Filed 12/28/20 Page 6 of 11

Congress initially delegated the responsibility for outlining what could qualify as
“extraordinary and compelling reasons” to the U.S. Sentencing Commission
(“Commission”). See 28 U.S.C. § 994(t) (“The Commission . . . shall describe
what should be considered extraordinary and compelling reasons for sentence
reduction, including the criteria to be applied and a list of specific examples.”).
The Commission took considerable time to promulgate its policy in response to
Congress’s directive. It finally acted in 2007, almost a generation later, with the
very general guidance that “extraordinary and compelling reasons” may include
medical conditions, age, family circumstances, and “other reasons.” U.S.S.G. §
1B1.13, app. n.1(A). However, this guidance did little to spur the BOP to file on
behalf of prisoners who might have met these general standards. After a negative
Department of Justice Inspector General report found that the BOP rarely invoked
its authority under the statute to move for reduced sentences, the Commission felt
compelled to act again. See U.S. Dep’t of Justice, Office of the Inspector General,
The Federal Bureau of Prisons’ Compassionate Release Program, I-2023-006 (Apr.
2013). The Commission amended its policy statement on “compassionate release”
in November 2016. See U.S.S.G. § 1B1.13 Amend. (11/1/2016). In addition to
broadening the eligibility guidelines for sentencing courts, the new policy
statement admonished the BOP for its past failures to file motions on behalf of
inmates who had met the general criteria identified in U.S.S.G. § 1B1.13. See
U.S.S.G. § 1B1.13, n.4; see also United States v. Dimasi, 220 F. Supp. 3d 173, 175
(D. Mass. 2016) (discussing the history of the BOP, DOJ and Commission’s
interplay in developing guidance for “compassionate release” motions). Notably,
the Commission concluded that reasons beyond medical illness, age, and family
circumstances could qualify as “extraordinary and compelling reasons” for
resentencing. Id., n.1(A) (including a category for “Other Reasons,” when there is
“an extraordinary and compelling reason other than, or in combination with, the
reasons described in subdivisions (A) through (C).”). But see United States v.
Cantu, No. 1:05-CR-458-1, 2019 WL 2498923, at *4 (S.D. Tex. June 17, 2019)
(holding that, given the changes to the compassionate release statute by the First
Step Act, U.S.S.G. § 1B1.13, application note 1(D) “no longer fits with the statute
and thus does not comply with the congressional mandate that the policy statement
must provide guidance on the appropriate use of sentence-modification provisions
under § 3582.”); United States v. Fox, No. 2:14-CR-03-DBH, 2019 WL 3046086,
at *3 (D. Me. July 11, 2019) (“I treat the previous BOP discretion to identify other
extraordinary and compelling reasons as assigned now to the courts.”); United
States v. Cantu-Rivera, No. CR H-89-204, 2019 WL 2578272, at *2 n.1 (S.D. Tex.

6
Case 1:98-cr-00258-JKB Document 437 Filed 12/28/20 Page 7 of 11

June 24, 2019) (“Because the current version of the Guideline policy statement
conflicts with the First Step Act, the newly-enacted statutory provisions must be
given effect.”); United States v. Beck, No. 1:13-CR-186-6, 2019 WL 2716505, at
*6 (M.D.N.C. June 28, 2019) (holding that application note 1(D) is “inconsistent
with the First Step Act, which was enacted to further increase the use of
compassionate release and which explicitly allows courts to grant such motions
even when BOP finds they are not appropriate,” and courts thus may “consider
whether a sentence reduction is warranted for extraordinary and compelling
reasons other than those specifically identified in the application notes to the old
policy statement”); but see United States v. Lynn, No. CR 89-0072- WS, 2019 WL
3805349, at *4 (S.D. Ala. Aug. 13, 2019) (holding that application note 1(D)
governs compassionate release reductions of sentence and federal judges have no
authority to create their own criteria for what constitutes an “extraordinary and
compelling” reason for resentencing).

The Commission’s actions, however, did little to change the dearth of filings by
the BOP on behalf of inmates who satisfied the Commission’s general guidance.
During the more than three decades during which the BOP was the exclusive
gatekeeper for “compassionate release” motions, very little effort was made to
implement Congress’s intention to provide a safety valve to correct injustices or
allow relief under extraordinary and compelling circumstances.

Finally, this changed with the passage of the First Step Act in 2018. See P.L. 115-
391, 132 Stat. 5194, at § 603 (Dec. 21, 2018). Section 603 of the First Step Act
changed the process by which § 3582(c)(1)(A) compassionate release occurs:
instead of depending upon the BOP Director to determine an extraordinary
circumstance and move for release, a court can now resentence “upon motion of
the defendant,” after the inmate exhausted administrative remedies with the BOP,
or after 30 days from the receipt of the inmate’s request for compassionate release
with the warden of the defendant’s facility, whichever comes earlier. 18 U.S.C. §
3582(c)(1)(A). Thus, under the First Step Act, a court may now consider the
defendant’s own motion to be resentenced, without waiting for it to be made by the
BOP.

Courts are now authorized to consider a defendant’s motion, even one which the
BOP opposes, and order resentencing if a resentencing court finds that
“extraordinary and compelling reasons” warrant a reduction and such a reduction is
consistent with the Section 3553(a) factors. Id. Resentencing courts are also
Case 1:98-cr-00258-JKB Document 437 Filed 12/28/20 Page 8 of 11

advised that any decision to reduce a previously ordered sentence be “consistent
with applicable policy statements issued by the Sentencing Commission.” Id.

B. THE COVID-19 OUTBREAK PRESENTS A
COMPELLING AND EXTRAORDINARY
CIRCUMSTANCE THAT WARRANTS
COMPASSIONATE RELEASE FOR LINTON, WHOIS A
HIGH-RISK FATALITY PATIENT

On March 11, 2020, the World Health Organization (“WHO”) officially classified
the new strain of coronavirus, COVID-19, as a pandemic. We have watched the
inexorable progression of COVID-19 around the globe, helpless to stop its
incursion across our borders. As a result, we now live in a world largely
unrecognizable from that which we occupied a mere few weeks ago. Our everyday
lives have, quite literally, ground to a halt. Indeed, the World Health Organization
(“WHO”) has classified COVID-19 as a global pandemic that has, as of the date of
Linton’s motion, infected 69,788,140 people worldwide and killed more than
1,585,727. We watch these bleak numbers exponentially increase every day. These
numbers almost certainly underrepresent the true scope of the crisis; test kits in the
United States have been inadequate to meet demand.

On March 13, 2020, the White House declared a national emergency, under
Section 319 of the Public Health Service Act, 42 U.S.C. § 247(d)). On March 16,
2020, the White House issued guidance recommending that, for the next eight
weeks, gatherings of ten persons or more be canceled or postponed. On March 2,
2020, Governor Andrew Cuomo ordered 100 percent of all non-essential workers
to remain home, effectively shuttering New York state’s entire economy. These
drastic measures followed the issuance of a report by British epidemiologists,
concluding from emerging data that 2.2 million Americans could die without
drastic intervention to slow the global spread of the deadly disease.

The Centers for Disease Control and Prevention (“CDC”) have also issued
guidance related to the deadly effects of COVID-19 on certain high-risk patients of
the population. The CDC identified the population most at risk of death from the
disease to include adults over 50 years old with chronic medical conditions, such
as lung disease, heart disease, chronic kidney disease, hypertension and diabetes.
For these individuals, the CDC warned to take immediate preventative actions,
including avoiding crowded areas and staying at home as much as possible. Id.

8
Case 1:98-cr-00258-JKB Document 437 Filed 12/28/20 Page 9 of 11

C. THE CONDITIONS OF BOP INCARCERATION
FOSTER THE SPREAD OF COVID-19, AND LINTON’S
AGE RENDER HIM PARTICULARLY SUSCEPTIBLE

TO AN UNREASONABLE RISK OF DEATH AND AN

INABILITY TO TAKE PREVENTATIVE MEASURES OR
SELF-CARE RECOMMENDED BY THE CDC

With the COVID-19 pandemic, it is only a matter of time before COVID-19 finds
its way into FCI Gilmer, where Linton is housed. Conditions of confinement at FCI
Gilmer create an optimal environment for the transmission of contagious disease.
People who work in the facility leave and return daily; people deliver supplies to
the facility daily; inmates were having social, legal and medical visits regularly
after the initial spread of the virus prior to the BOP’s decision to stop visits for 30
days on March 13, 2020. Public health experts are unanimous in their opinion that
incarcerated individuals “are at special risk of infection, given their living
situations,” and “may also be less able to participate in proactive measures to keep
themselves safe,” and “infection control is challenging in these settings.”
“Achieving a Fair and Effective COVID-19 Response: An Open Letter to Vice-
President Mike Pence, and Other Federal, State, and Local Leaders from Public
Health and Legal Experts in the United States” (March 2, 2020), at

https://bit.ly/2 W9V60S.

Linton is powerless to take the preventative self-care measures directed by the
CDC for his high-risk group to remain safe from COVID-19 infection. He cannot
self-quarantine or partake in “social distancing” in his prison facility. There are
also community spaces where inmates and prison staff gather, including a common
room, laundry facilities, barber shop, medical areas, dining hall, small library and
gym. These high-density areas are precisely the kind of spaces that have caused the
alarmingly high-spread rates of COVID-19 in prison. Hand sanitizer, an effective
disinfectant recommended by the CDC to reduce transmission rates, is contraband
in jails and prisons because of its alcohol content. Correctional health experts
worry that no matter what precautions are taken by crowded prisons, these
facilities may become incubators for the COVID-19 disease.

During the HIN1 epidemic in 2009, many jails and prisons dealt with high
numbers of cases because they could not maintain the level of separation and
sanitation necessary to prevent widespread infection. “Prisons and Jails are

9
Case 1:98-cr-00258-JKB Document 437 Filed 12/28/20 Page 10 of 11

Vulnerable to COVID-19 Outbreaks,” The Verge (Mar. 7, 2020), available at
https://bit.ly/2TNcNZY.

The Prison Policy Initiative has called on American jails and prisons to release
medically fragile and older adults, noting that these persons are at high risk for
serious complications and even death from COVID-19. Similarly, members of
Congress have written to the BOP to urge that efforts be made to allow immediate
release of non-violent, elderly inmates. Letter of Representatives Jerrold Nadler
and Karen Bass (March 19, 2020) (“DOJ and BOP must also do all they can to
release as many people as possible who are currently behind bars and at risk of
getting sick. Pursuant to 18 U.S.C. 35 82(c)(1)(A), the Director of the Bureau of
Prisons may move the court to reduce an inmate’s term of imprisonment for
“extraordinary and compelling reasons.”).

Given that Linton is 45 years old and he is vulnerable to COVID-19, compelling
and extraordinary circumstances exist to support compassionate release at this
unique time in our country’s history. There is an urgent need to act now, before the
virus spreads within the prison and Linton becomes infected. In sum, the risk posed
by infectious diseases in jails and prisons is significantly higher than in the
community, both in terms of risk of transmission, exposure, and harm to
individuals who become infected.

In summary, the COVID-19 virus is highly transmissible, extraordinarily
dangerous, and poses a severe threat of death to the high-risk medical profile of
Linton. The conditions at FCI Gilmer do not allow Linton to take the self-care
measures required by the CDC to protect him safety.

Accordingly, this Court should find that, in light of the heightened medical risk
presented to Linton by the COVID-19 pandemic, there are extraordinary and
compelling reasons to reduce Linton’s sentence in the manner requested—to wit,
releasing him from custody and requiring him to serve his sentence release on
home confinement, on specified conditions.

This conclusion is supported by the application of the § 3553(a) factors. Linton
has served a substantial majority of his prison sentence.

Section 3553(a) requires a sentencing court consider the “history and
characteristics of the defendant” and “the need to provide the defendant with
needed . . . medical care.” 18 U.S.C. § 3553(a). Viewed now in the light of a raging
and virulent pandemic that has entered federal prisons and that poses a special risk

10
Case 1:98-cr-00258-JKB Document 437 Filed 12/28/20 Page 11o0f11

to Linton’s health, these factors, together, now counsel allowing him to be released
and serve his remaining time in home confinement. For reasons including those set
out at length at Linton’s no longer will present a meaningful danger to the
community if at liberty. And the conditions of his forthcoming home confinement
will meaningfully restrict his freedom of movement during the remainder of the
sentence.

CONCLUISON

Under these reasons Linton is forced to seek relief from this Court to avoid
imminent danger to himself. Accordingly, this Court should find that extraordinary
and compelling reasons warranting a reduction of Linton’s sentence, that he does
not pose a danger to the community, that the § 3553(a) factors now support a
reduction of sentence, and that the reduction sought is consistent with the
Sentencing Commission’s policy statement.

Respectfully Submitted,

Ahmad S. Linton, pro-se

 

Dated: [et 9
CERTIFICATE OF SERVICE

The undersigned hereby certifies that, on / L/ 4 , 2020 the foregoing PRO-
SE MOTION IN SUPPORT OF MOTION TO REDUCE SENTENCE

PURSUANT TO THE FIRST STEP ACT OF 2018 was served upon the U.S.
Attorney for the District of Maryland via U.S. mail and pre-paid mail.

11
